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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 BROCK FREDIN,
                                                Case No. 17-CV-3058
                      Plaintiff,

        --against--
                                                DECLARATION OF BROCK FREDIN
 LINDSEY MIDDLECAMP,


                      Defendants.




 BROCK FREDIN,
                                                Case No. 18-CV-466
                      Plaintiff,

        --against--

 GRACE MILLER,
 CATHERINE SCHAEFER,                            DECLARATION OF BROCK FREDIN


                      Defendants.


STATE OF WISCONSIN                  }
                                    ss:
COUNTY OF SAINT CROIX               }

       BROCK FREDIN, being duly sworn, deposes and says:

       1.     I am the Plaintiff in the above-captioned proceeding.         I submit this

declaration in support of my motion to sua sponte cross sanction, opposition to Defendant’s

preliminary injunction, and opposition to Defendant’s motion for summary judgemnet.

                       AUTHENTICATION OF DOCUMENTS




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       2.     Attached hereto as Exhibit A is a true and correct copy of an October 21,

2020 Freedom of Information Act production from the Saint Louis Park, Minnesota police

department.

       3.     Attached hereto as Exhibit B is a true and correct copy of a February 22,

2017 Twitter post published by Lindsey Middlecamp sharing a screenshot of Defendant

Jamie Kreil’s statement that she made a report against Plaintiff with the “St. Louis Park

police” in 2010.

       4.     Attached hereto as Exhibit C is a true and correct copy of six (6) October

12, 2020 direct messages intended as false and defamatory public statements believed to

originate from Defendant Middlecamp.

        PLAINTIFF BROCK FREDIN’S OCTOBER 2020 FOIA REQUEST

       5.     On October 18, 2020, I requested a freedom of information act (“FOIA”)

production by way of the City of Saint Louis Park. The request was made related to records

associated with Jamie Kreil’s alleged police report purportedly detailing a sexual assault.

       6.     On October 21, 2020, the Saint Louis Park records department produced a

FOIA production detailing extensive searches within their city including the Saint Louis

Park Police Department.

       7.     The production detailed no such police report ever made against Plaintiff, no

such report made by Defendant Jamie Kreil against Plaintiff, and no records whatsoever

associated with Plaintiff.




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       8.     Furthermore, the production detailed no such report ever made by Grace

Elizabeth Miller (DOB: 8/16/84), Catherine Schaefer (believed DOB: 7/18/84) or Lindsey

Middlecamp (DOB: 6/22/86).

       9.     On October 12, 2020, I received six (6) direct messages from Defendant

Lindsey Middlecamp. The messages are intended both as private messages (because I

received them as private messages) and defamatory public statements I am only reporting

this to document the allegations as I believe her actions will escalate and fear for my safety.



Dated: November 5, 2020
Saint Croix Co., WI




                                                          s/ Brock Fredin
                                                          Brock Fredin
                                                          Saint Croix Co., WI 54002
                                                          (612) 424-5512 (tel.)
                                                          brockfredinlegal@icloud.com
                                                          Plaintiff, Pro Se




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                        A
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  From:    Christine Tuuri ctuuri@stlouispark.org
Subject:   RE: data requests, please assist
   Date:   October 23, 2020 at 8:59 AM
     To:   brockfredinlegal@icloud.com
    Cc:    Nancy Deno ndeno@stlouispark.org


       Good Morning Mr. Fredin,
       We have completed your data request. We have no data responsive to your request.
       Please see our below responses in RED to your email requests between October 18,
       2020 and October 22, 2020.

       Thank you,

       Christine Tuuri
       Records Supervisor | City of St. Louis Park
       3015 Raleigh Ave. S., St. Louis Park, MN 55416
       Office: 952-924-2605 | Fax:(952) 924-2676
       www.stlouispark.org
       Experience LIFE in the Park.




       What additional information do you require? I am
       looking for any police reports made by Jamie Kreil Data
       does not exist in reference to Brock Fredin Data does not exist.
        Secondly, I’m looking for any police reports that
       reference Brock Fredin Data does not exist (namely made by
       Grace Elizabeth Miller (DOB: 8/16/84) Data does not exist,
       Catherine Schaefer (believed DOB: 7/18/84) Data does not
       exist, or Lindsey Middlecamp (DOB: 6/22/86)) Data does not
       exist.


       Thank you,
       Brock Fredin

                 Brock Fredin
                 brockfredinlegal@icloud.com
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brockfredinlegal@icloud.com
612-424-5512

10/18/2020
fredin, brock, w
All responsive documents related to Brock Fredin Data does not exist or Jamie Kreil
Data does not exist. This may include any responsive documents related to Jamie Kreil,
Catherine Schaefer (believed DOB: 7/18/84) Data does not exist, Lindsey Middlecamp
Data does not exist, or Grace Elizabeth Miller (DOB: 8/16/84) Data does not exist.
fredin, brock, w
The previous request also includes emails, communications, or any data related to the
previously mentioned parties: Brock Fredin Data does not exist, Jamie Kreil Data does
not exist, Lindsey Middlecamp Data does not exist, Catherine Schaefer Data does
not exist, Grace Miller Data does not exist. This could include requests made on those
parties by Laura Pietan, Mary Ellen Heng, or associated parties We do not have data
related to this request.
10/18/2020
brock fredin
All responsive data, documents, communications, or related material in reference to Brock
Fredin Data does not exist, Jamie Kreil Data does not exist, Grace Miller Data
does not exist, Catherine Schaefer Data does not exist, or Lindsey Middlecamp
Data does not exist. This makes special emphasis for periods between 2008 to 2010 or
between 2015-2020. We do not have data related to this request.
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                        C
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